UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA, et al.,
ex rel. MICHAEL BAWDUNIAK,

                                Plaintiff-Relator,        Civil Action No. 12-10601-IT

                          vs.

BIOGEN IDEC INC.,

                                     Defendant.


                   PARTIES’ JOINT STATEMENT REGARDING
                     APRIL 2, 2020 STATUS CONFERENCE

               Pursuant to the Court’s guidance, Defendant Biogen Inc. (“Biogen”) and

Relator Michael Bawduniak (“Relator,” and, together with Biogen, the “Parties”) have

met and conferred regarding the necessity for the April 2, 2020 status conference. In

light of the COVID-19 pandemic, Relator’s counsel’s upcoming trials, and the remaining

depositions, the Parties have submitted a Joint Motion to Amend the Scheduling Order.

If the Court grants the pending Joint Motion, the Parties agree that the April 2, 2020

status conference is not necessary because the Parties do not currently have any discovery

issues in dispute. Accordingly, the Parties respectfully request that the Court cancel the

conference. If the Court has any questions about the requested extension, or has any

other issues it would like to raise, the parties are available for the scheduled hearing at

2:15 PM on April 2 via telephone.
Dated: March 30, 2020


GREENE LLP                                            ROPES & GRAY LLP


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